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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Criminal Action No. 02-cr-00053-WYD-01

UNITED STATES OF AMERICA,

              Plaintiff,

vs.

STEVEN ENNIS,

              Defendant.


                    ORDER TERMINATING SUPERVISED RELEASE
                      PRIOR TO ORIGINAL EXPIRATION DATE


       On August 5, 2011, the probation officer submitted a report (12A) noting that the
defendant was statutorily eligible for early termination of supervised release in this case.
Upon the Court’s review of the defendant’s overall compliance on supervised release, it
found that early termination is warranted. Therefore, the Court

      ORDERS that the defendant be discharged from supervised release and that the
proceedings in the case be terminated.


       DATED at Denver, Colorado, this 19th day of August, 2011.


                                          BY THE COURT:



                                          s/ Wiley Y. Daniel
                                          WILEY Y. DANIEL
                                          Chief United States District Judge
